Petitioner applies for a writ of habeas corpus on behalf of Helen Von. The police court of San Francisco committed Helen Von to the California Industrial Farm for Women in Sonoma County. Petitioner claims that it nowhere appears upon the records of the police court that Helen Von was over the age of eighteen years and claims that in the absence of such affirmative showing she must be released notwithstanding the fact that she may be over eighteen years of age. [1] The point is not well taken. In this state jurisdiction of an inferior court may be shown by evidence dehors the record. (Jolley v.Foltz, 34 Cal. 321; Kane v. Desmond, 63 Cal. 464, 466; Ferguson
v. Basin Consolidated Mines, 152 Cal. 712, 715
[93 P. 867]; Gardella v. County of Amador, 164 Cal. 555, 561
[129 P. 993].)
Petition denied.
Wilbur, C. J., Lawlor, J., Lennon, J., Waste, J., Seawell, J., Kerrigan, J., and Myers, J., concurred. *Page 354 